i Case 1:00-cv-01218-FAL-JDK Document18 Filed 06/12/00 Page 1 of 1 Pasta LED

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UNITED STATES DISTRICT COURT ay Qo
ROBERT H. SHEMWELL. cLER, WESTERN DISTRICT OF LOUISIANA
WES RK
SHR SZRICT OF LGulsiana ALEXANDRIA DIVISION
DAVID JOHNSON, 4 CIVIL SUIT NO.: 1:00CV1218 A
Plaintiff *
*
VERSUS * JUDGE F.A. LITTLE, JR.
*
CHL ENTERPRISES, INC. D/B/A *
LOEWER LAWN & CYCLE CENTER, *
BOMBARDIER, INC., BOMBARDIER *
MOTOR CORPORATION OF AMERICA, *
AND BOMBARDIER CORPORATION, *
Defendants * MAGISTRATE JAMES KIRK

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ORDER

Considering the foregoing Motion for Extension of Time Within Which to Plead; it is

ORDERED that plaintiff, David Johnson, be and is hereby granted an extension of time, until

the _ / 2. day of oJ t , 2000, within which to respond to

outstanding motions, and to conduct reasonable discovery prior to hearing of the class certificates

issue.

ALEXANDRIA, LOUISIANA, this / Z day of ) Ae

2000.

 

HON. FA. LITTLE, JR. US. DISTRICT JUDGE,
| WESTERN DISTRICT OF LOUISIANA, ALEXANDRIA
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